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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

 UNITED STATES OF AMERICA
                                                            CASE NO. 1:20-CR-77
                           v.
                                                           JUDGE TIMOTHY S. BLACK
 LARRY HOUSEHOLDER, et al.,
                                                           STIPULATION
                      Defendants.




         The parties stipulate that funds transferred from a Generation Now bank account to the 17

Consulting Group LLC bank account utilized a facility in interstate commerce by using the

banking system that transmitted funds through wire communications across state lines.

         It is further stipulated and agreed that this Stipulation may be introduced into evidence as

an exhibit, and that the facts herein stipulated have the same status, dignity, and effect as the

undisputed testimony of credible witnesses.



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                                                     STEVEN L. BRADLEY
                                                     MARK B. MAREIN .
                                                     ROBERT GLICKMAN
                                                     NICHOLAS R. OLESKI
                                                     Counsel for Defendant Larry Householder
 Case: 1:20-cr-00077-TSB Doc #: 210 Filed: 02/16/23 Page: 2 of 2 PAGEID #: 6641




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                                          MATTHEW BORGES



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                                          TODDA. LONG
                                          Counsel for Defendant Matthew Borges
